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                                                          October 20, 2020



    BYECF
    Hon. Kenneth M. Karas
    United States District Court
    Southern District of New York
    300 Quarropas Street
    White Plains, New York 10601

                            Re:   United States v. Goldbrener, et al. , 18-Cr-614 (KMK)
                                  (Request for Adjournment on Consent)

    Dear Judge Karas:

           I am counsel to Moshe Schwartz in the above referenced matter. Mr. Schwartz's
    sentencing submission is currently due on October 22, 2020. With the government's consent, I
    am writing to request a 2-week adjournment of Mr. Schwartz's time to submit his sentencing
    memo .

             This is adjournment is necessitated by the fact that for the past several weeks I have been
    preoccupied with the medical needs of a close family member who is in the ICU on a
    ventilator. As a result, I have been unable to devote the necessary care and attention required to
    final ize Mr. Schwartz's sentencing submission.

           Accordingly, I respectfully request that the due date for Mr. Schwartz's sentencing
     submission be adjourned until November 5, 2020.
          Granted.
                                                          Respectfully submitted,
          So Ordered .



         ~L
    cc: All government counsel (by ECF)
        All defense counsel (by ECF)
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